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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE


United States

      v.                                       Criminal No. 14-cr-074-LM

Joshua Fields




                                     ORDER

      On today’s date, May 13, 2021, the court held a video hearing in this case.

Attorney Michael Iacopino appeared for Mr. Joshua Fields, and Attorney Seth

Aframe appeared for the government.

      Fields moves for compassionate release under 18 U.S.C. § 3582(c)(1)(A) based

on the Bureau of Prison’s (“BOP”) failure to follow the court’s previous orders,

thereby causing serious harm to Fields’s physical and mental health and preventing

his participation in rehabilitative programming (doc. no. 60). The government

assents to Fields’s motion (doc. no. 64). After careful consideration, Fields’s motion

is granted. The court will issue a subsequent order explaining its reasoning. This

order renders Fields’s pending housing motions moot (doc. nos. 53, 57).



                                   CONCLUSION

      For the foregoing reasons, Fields’s motion for compassionate release (doc. no.

60) is granted as follows:
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   1. Fields’s sentence will be reduced to time served.

   2. Fields will be placed on a special term of supervised release until July 30,

      2023, which is equivalent to what his discharge date would have been from

      the BOP, during which time he will remain on supervision under the terms of

      release as outlined in Appendix A.

   3. Following the term of special supervised release, Fields will be placed on

      supervised release for a term of three years.

   4. During the terms of special supervised release and supervised release, Fields

      shall be subject to the Supervision Conditions as set forth in Appendix A.

   5. Strafford County Department of Corrections and BOP shall release Fields

      immediately following processing.

   6. The court will issue an amended criminal judgment.

   SO ORDERED.




                                       __________________________
                                       Landya McCafferty
                                       United States District Judge

May 13, 2021
cc: Counsel of Record
    U.S Probation
    U.S. Marshal




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                                   APPENDIX A

CONDITIONS OF RELEASE

While under supervision, you must comply with the standard conditions that have
been adopted by this court, and the following mandatory conditions:

   1. You must not commit another federal, state, or local crime.

   2. You must not unlawfully possess a controlled substance.

   3. You must refrain from any unlawful use of a controlled substance. You must
      submit to one drug test within 15 days of release from imprisonment and at
      least two periodic drug tests thereafter, as determined by the court.

   4. You must cooperate in the collection of DNA as directed by the probation
      officer.

In addition, you must comply with the following special conditions:

   1. You must reside at the Hampshire House Residential Reentry Center for the
      first six (6) months of your special term of supervised release. You must
      follow all rules and regulations of the Hampshire House.

   2. You must not communicate, or otherwise interact, with the Dack family,
      either directly or through someone else, without first obtaining the
      permission of the probation officer.

   3. You must participate in a mental health treatment program and follow the
      rules and regulations of that program. The probation officer will supervise
      your participation in the program (provider, location, modality, duration,
      intensity, etc.). You must pay for the cost of treatment to the extend you are
      able, as determined by the probation officer.

   4. You must take all mental health medications that are prescribed by your
      treating physician. You must pay for the cost of treatment to the extend you
      are able, as determined by the probation officer.

   5. You must participate in a substance use treatment program and follow the
      rules and regulations of that program. The probation officer will supervise

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   your participation in the program (provider, location, modality, duration,
   intensity, etc.). You must pay for the cost of treatment to the extend you are
   able, as determined by the probation officer.

6. You must not use or possess any controlled substances without a valid
   prescription. If you do have a valid prescription, you must disclose the
   prescription information to the probation officer and follow the instructions of
   the prescription.

7. You must submit to substance use testing to determine if you have used a
   prohibited substance. You shall pay for the cost of testing to the extend you
   are able, as determined by the probation officer. You must not attempt to
   obstruct or tamper with the testing methods.

8. You must not knowingly purchase, posses, distribute, administer, or
   otherwise use any psychoactive substances (e.g., synthetic marijuana, bath
   salts, etc.) that impair a person’s physical or mental functioning, whether or
   not intended for human consumption, except with the prior approval of the
   probation officer.

9. You must submit your person, property, house, residence, vehicle, papers,
   computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic
   communications or data storage devices or media, or office, to a search
   conducted by a U.S. Probation Officer. Failure to submit to a search may be
   grounds for revocation of release. You must warn any other occupants that
   the premises may be subject to searches pursuant to this condition. The
   probation officer may conduct a search under this condition only when
   reasonable suspicion exists that you have violated a condition of supervision
   and that the areas to be searched contain evidence of this violations. Any
   search must be conducted at a reasonable time and in a reasonable manner.




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